923 F.2d 868
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Alejandro B. BOAC, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 90-3353.
    United States Court of Appeals, Federal Circuit.
    Oct. 9, 1990.
    
      Before ARCHER, Circuit Judge.
    
    ORDER
    
      1
      Upon consideration of the unopposed motion of the Office of Personnel Management to remand to the Merit Systems Protection Board for further proceedings,
    
    IT IS ORDERED THAT:
    
      2
      The motion is granted.  The petition is dismissed.
    
    